              Case 2:11-cr-00296-JAM Document 696 Filed 02/08/18 Page 1 of 2


 1 Dina L. Santos, SBN 204200
   A Professional Law Corporation
 2 455 Capitol Mall, Suite 802
   Sacramento, CA 95814
 3 Telephone: (916) 447-0160

 4
   Attorney for:
 5 Christian Parada Renteria

 6
                                  IN THE UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 11-00296 JAM
10
                                    Plaintiff,            STIPULATION TO CONTINUE CASE TO APRIL
11                                                        3, 2018, AT 9:15 A.M.
                             v.
12
     CHRISTIAN PARADA RENTERIA.
13                       Defendant

14
                                                  STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, Brian Fogerty and
16
     Defendants Christian Parada Renteria by and through his Counsel of record, Dina Santos, hereby
17
     stipulate as follows:
18
            1.      By previous order, this matter was set for status on February 13, 2018.
19
            2.      By this stipulation, defendant now moves to continue the Judgement and Sentencing date
20
     until April 3, 2018. Plaintiff does not oppose this request.
21
            3.      The parties agree and stipulate, and request that the Court find the following:
22
                    a)       Counsel for Defendant requires additional time to conduct investigation, obtain
23
            transcripts of prior court proceedings, continue to review previous Counsel’s pleadings, review
24
            discovery, and possibly file a new motion to withdraw Defendant’s plea. A request for funding
25
            to obtain the transcripts has been filed as well as a request to provide sealed portions of two
26
            separate proceedings. The discovery provided by prior Counsel consisted of two large binders
27
            that mainly contained pleadings related to a prior motion to withdraw defendant’s plea but did
28
                                                          1
            Case 2:11-cr-00296-JAM Document 696 Filed 02/08/18 Page 2 of 2


 1        not include most of the discovery. The Government has agreed to provide discovery on a hard

 2        drive to defense counsel. The Government does not object to the continuance.

 3

 4        IT IS SO STIPULATED.

 5

 6 Dated: February 7, 2018                              PHILLIP TALBERT
                                                        United States Attorney
 7

 8                                                      /s/ Brian Fogerty
                                                        BRIAN FOGERTY
 9                                                      Assistant United States Attorney

10

11 Dated: February 7, 2018                              /s/ Dina L. Santos
                                                        DINA SANTOS, ESQ.
12                                                      Attorney for Christian Parada

13

14

15

16                                               ORDER

17        IT IS SO FOUND AND ORDERED this 8th day of February, 2018

18                                                      /s/ John A. Mendez

19
                                                        HON. JOHN A. MENDEZ
20                                                      UNITED STATES DISTRICT COURT JUDGE

21

22

23

24

25

26

27

28
                                                    2
